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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ELI HECKMAN,                                    :      CIVIL ACTION
                        Plaintiff                :
                                                 :
                   v.                            :
                                                 :
 CITY OF ALLENTOWN,                              :
              Defendant.                         :       NO.    15-4184


                                           ORDER

       AND NOW, TO WIT: this 16th day of May, 2016, it having been reported that the issues

between plaintiff, Eli Heckman and the remaining defendant, City of Allentown have been settled

and upon Order of the Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil

Procedure of this Court, it is

       ORDERED that the above action is DISMISSED with prejudice pursuant to agreement of

counsel without costs. The Court intends to retain jurisdiction for ninety (90) days from now, and

any settlement agreement is approved and made a part of the record and this Order for enforcement

purposes.




                                     MICHAEL E. KUNZ, Clerk of Court



                                     BY:      /s/ Sharon Lippi
                                             Sharon Lippi, Deputy Clerk to
                                             Judge Lawrence F. Stengel
